                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00204-MOC

UNITED STATES OF AMERICA,                   )
                                            )
                                            )
                                            )
Vs.                                         )                      ORDER
                                            )
BOGGS PAVING, INC.,                         )
                                            )
                 Defendant.                 )



         THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                        ORDER

         IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#163) is

GRANTED, and Counts 2 through 29 of the Superseding Bill of Indictment (#67) are

DISMISSED without prejudice as to defendant Boggs Paving, Inc.




 Signed: December 16, 2014




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